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                                                                                                     E-FILED
                                                                     Friday, 03 September, 2021 02:41:14 PM
                                                                                 Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

GEORGIA B. ADCOCK and NEIL ADCOCK,          )
                                            )                  JURY DEMAND
          Plaintiffs,                       )
                                            )                  Case No. 21-L-___
    v.                                      )
                                            )
MENARD, INC., a corporation, d/b/a MENARDS, )
                                            )
          Defendant.                        )


                       COMPLAINT AND DEMAND FOR JURY TRIAL

        NOW COME the Plaintiffs, GEORGIA B. ADCOCK and NEIL ADCOCK, by and

through their attorneys, Bolen Robinson & Ellis, LLP, and for their Complaint against the

Defendant, MENARD, INC., a corporation, d/b/a MENARDS, a company authorized to do

business in the State of Illinois (hereinafter referred to as “MENARDS”), they state as follows:

I.      JURISDICTION

        1.       Plaintiffs GEORGIA B. ADCOCK and NEIL ADCOCK are citizens of the state

of Illinois.

        2.       Upon information and belief, Defendant MENARDS is a Wisconsin Corporation,

with its principal place of business in Wisconsin.

        3.       Plaintiffs seek damages in an amount in excess of the jurisdictional requirement

of $75,000.00.

        4.       This Court has original jurisdiction in the matters alleged herein pursuant to 28

U.S.C. § 1332.

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II.    VENUE

       5.      That venue is properly placed in the U.S. District Court for the Central District of

Illinois, Urbana Division, pursuant to 28 U.S.C. § 1391(b). Plaintiffs GEORGIA B. ADCOCK

and NEIL ADCOCK are residents of Decatur, Macon County, Illinois. Menards conducts

business and maintains a place of business in Forsyth, Macon County, Illinois. Furthermore, the

acts complained of herein occurred in Macon County, Illinois.

III.   PARTIES

       6.      That GEORGIA B. ADCOCK and NEIL ADCOCK are citizens of the United

States, residents of Macon County, Illinois, are a married couple, and are legal adults over the

age of eighteen (18).

       7.      That MENARDS is a corporation conducting business in the State of Illinois; and

at all times relevant to the matters set forth in this Complaint, MENARDS operated a business in

Macon County at 533 Market Dr., Forsyth, Illinois, 62535.

IV.    ALLEGATIONS

                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       8.      That on September 14, 2020, GEORGIA B. ADCOCK visited the MENARDS

store location at 533 Market Dr., Forsyth, Illinois, for the purpose of procuring goods that were

offered for sale by MENARDS at that store location.

       9.      That as a customer of MENARDS, GEORGIA B. ADCOCK was a business

invitee and a patron of MENARDS.

       10.     That in the early afternoon of September 14, 2020, MENARDS employed agents

and employees of MENARDS, including but not limited to stock personnel, cart return

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personnel, courtesy patrol team members, and other agents of MENARDS who were from time

to time assigned by MENARDS to bring shopping carts back into the store from the parking lot.

       11.     After entering the MENARDS store, GEORGIA B. ADCOCK approached the

end of a long row of shopping cards to obtain a shopping cart to use as a patron of the store.

       12.     On or about the time GEORGIA B. ADCOCK reached to remove a cart from the

end of the long row of carts, one or more employees or agents of MENARDS was returning

multiple shopping carts at the other end of the long row of shopping carts, and pushed the row of

shopping carts toward GEORGIA B. ADCOCK, colliding with her causing GEORGIA B.

ADCOCK to fall.

       13.     That on September 14, 2020, GEORGIA B. ADCOCK sustained injuries due to

her fall in the MENARDS store. That at the time of her fall, GEORGIA B. ADCOCK was in a

place in the MENARDS store where she had a lawful right to be for the purpose of procuring

items from the store offered for sale by MENARDS.

                                     COUNT I
                          NEGLIGENCE – GEORGIA B. ADCOCK

       NOW COMES Plaintiff GEORGIA B. ADCOCK and for Count I of the Complaint

at Law against Defendant, MENARDS, she hereby alleges and states the following:

       14.     Plaintiff realleges and incorporates the allegations contained in paragraphs 1-13 as

paragraph 14 herein.

       15.     As the business owner and operator of the business at the MENARDS store

located at 533 Market Dr., Forsyth, Illinois, MENARDS owed a duty to all patrons of its store,

including GEORGIA B. ADCOCK, to exercise ordinary care in the operation of its business,

including in returning shopping carts into the store.
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       16.    As the business owner and operator of the business at the MENARDS store

located at 533 Market Dr., Forsyth, Illinois, MENARDS owed a duty to all patrons of its store,

including GEORGIA B. ADCOCK, to refrain from actions or omissions creating an

unreasonable risk of harm.

       17.    In the early afternoon of September 14, 2020, in breach of its obligations and

duties owed to GEORGIA B. ADCOCK, MENARDS by and through its employees and or

agents, committed one or more of the following negligent acts and omissions:

              a.      Pushing a row of shopping carts in a manner causing the shopping carts to

                      collide with GEORGIA B. ADCOCK;

              b.      Failing to keep a proper lookout to avoid causing shopping carts to collide

                      with GEORGIA B. ADCOCK when returning shopping carts;

              c.      Failing to warn GEORGIA B. ADCOCK that employees or agents may be

                      pushing shopping carts in a manner causing the shopping carts to collide

                      with her;

              d.      Failing to warn GEORGIA B. ADCOCK that employees or agents may be

                      pushing shopping carts into her immediate vicinity;

              e.      Failing to have multiple employees work together when returning multiple

                      shopping carts so the employee at the front of the row of carts could

                      maintain a proper lookout for the safety of patrons, including GEORGIA

                      B. ADCOCK, when returning multiple shopping carts;

              f.      Failing to properly train its employees and agents to avoid causing a

                      collision between shopping carts and patrons, including GEORGIA B.

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                     ADCOCK, when returning shopping carts;

              g.     Failing to properly train its employees and agents in the careful return of

                     shopping carts to an area where patrons, including GEORGIA B.

                     ADCOCK, would be procuring shopping carts;

              h.     Failing to properly train its employees and agents to follow Menards’

                     policies and procedures for the safe return of shopping carts to avoid

                     injuring patrons, including GEORIGA B. ADCOCK;

              i.     Installing reflective coating on windows making it difficult for employees

                     and agents outside of the store to see patrons, including GEORGIA B.

                     ADCOCK, when returning shopping carts.

              j.     Failing to provide adequate staffing for agents and employees of

                     MENARDS to work as a team in returning shopping carts to protect

                     patrons, including GEORGIA B. ADCOCK, from the unreasonable risk of

                     harm.

              k.     Otherwise allowing conditions to exist that exposed patrons lawfully in the

                     MENARDS store, including GEORGIA B. ADCOCK to an unreasonable

                     risk of harm resulting in injuries sustained by GEORGIA B. ADCOCK.

       18.    As a direct and proximate result of one or more of the foregoing negligent acts

and omissions of MENARDS, GEORGIA B. ADCOCK sustained injuries to her person when

she fell in the MENARDS store. That at the time of her fall, GEORGIA B. ADCOCK was in a

place in the MENARDS store where she had a lawful right to be for the purpose of procuring

items from the store offered for sale by MENARDS.

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       19.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions of MENARDS, GEORIGA B. ADCOCK, sustained bodily injuries and

conditions related thereto; GEORIGA B. ADCOCK was caused to endure great pain and

suffering and will be caused to endure great pain and suffering in the future; GEORIGA B.

ADCOCK is at increased risk of future injury; GEORIGA B. ADCOCK was caused to lose her

ability to engage in a normal life; GEORIGA B. ADCOCK was required to expend large sums

of money in the care and treatment of her injuries; GEORIGA B. ADCOCK was caused to incur

out-of-pocket expenses; GEORIGA B. ADCOCK suffered permanent disfigurement and

disability, and GEORIGA B. ADCOCK has been precluded from engaging in her normal affairs

and activities of daily living, all to her detriment. As a consequence of the foregoing, GEORIGA

B. ADCOCK has sustained damages in a sum in excess of Seventy-Five Thousand and 00/100s

Dollars ($75,000.00).

       WHEREFORE, Plaintiff, GEORGIA B. ADCOCK, hereby prays for judgment against

Defendant, MENARDS, in excess of Seventy-Five Thousand and 00/100s Dollars ($75,000.00)

plus costs of suit, and for such other and further relief as this Court deems equitable and proper.


                                   COUNT II
                NEGLIGENCE / LOSS OF CONSORTIUM - NEIL ADCOCK

       NOW COMES the Plaintiff NEIL ADCOCK and for Count II of the Complaint at

Law against Defendant, MENARDS, he hereby alleges and states the following:

       20.     Plaintiff realleges and incorporates the allegations contained in paragraphs 1-19 as

paragraph 20 herein.

       21.      That as a direct and proximate result of the negligent acts or omissions of

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MENARDS that led to the injuries sustained by Plaintiff, GEORGIA B. ADCOCK, wife of

Plaintiff, NEIL ADCOCK, the Plaintiff, NEIL ADCOCK has suffered and continues to suffer the

loss of consortium of his wife.

       WHEREFORE, Plaintiff, NEIL ADCOCK, hereby prays for judgment against Defendant,

MENARDS, in excess of Seventy-Five Thousand and 00/100s Dollars ($75,000.00) plus costs of

suit, and for such other and further relief as this Court deems equitable and proper.

                                        JURY DEMAND

       Plaintiffs GEORGIA B. ADCOCK and NEIL ADCOCK respectfully demand a trial by

jury on all Counts of this Complaint.



                                              Respectfully Submitted,

                                              On behalf of GEORGIA B. ADCOCK and
                                              NEIL ADCOCK,

                                              /s/ Joshua G. Rohrscheib
                                              Joshua G. Rohrscheib




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